Case 2:03-cv-02470-SHI\/|-dkv Document 124 Filed 08/31/05 Page 1 of 2 Page|D 146

'Hl
IN THE UNITED sTATES DISTRICT coURT 'ED BY -Wi- D-C-
FOR THE wEsTERN DISTRICT oF TENNESSEE 05 A
wESTERN DIVISION UB 3' PH 3= 57

 

TROY L. VAUGHAN, JR.,

 

Plaintiff,

VS. NO. 03-2470-Ma

MEMPHIS HEALTH CEN'I'ER, INC. ,

Defendant.

 

ORDER DENYING MOTIONS AS MOOT

 

Before the court are motions in limine filed on January 4,
2005 (D.E. No. 74), January 20, 2005 (D.E. Nos. 84 and 87),
February 14, 2005 (D.E. Nos. 99, 100, and 101). This case was
tried before a jury on August 29 and 30, 2005. All of the
pending motions in limine were disposed of on the record. The
motions are now moot and are, therefore, denied.

lt is so ORDERED this 3'!. day of August, 2005.

J%M/M.....

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Ti'¢ie document entered on the docks h_eet igg)§'.'\ance
with 'Ru!e 58andfor79(a)FRCP on _ Z, _(2___ _ _

   

UN1TE sTATsE D1STR1CT OURT - WESTENR D"ISR1CT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 124 in
case 2:03-CV-02470 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Curtis D. Johnson

LAW OFFICE OF CURTIS JOHNSON
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

Pamela Y. McFarland- Brown

LAW OFFICE OF PAB/[ELA McFARLAND-BROWN
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

Florence M. Johnson

LAW OFFICE OF FLORENCE JOHNSON
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

David 1\/1. Rudolph

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/1emphis7 TN 38119

Honorable Samuel Mays
US DISTRICT COURT

